                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:06CV128-MU-02
                            (3:02CR242-MU)


TROY LAMAR MORTON,            )
     Petitioner,              )
                              )
       v.                     )                    ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on “Petitioner’s Traverse

Motion And For Reconsideration Of Court’s Denial Of Petitioner’s

Motion Requesting A Certificate Of Appealability Review Pursuant

To Local Rule 22(a) And In The Alternative Notice Of Appeal”

(3:06CV128, document # 4) filed March 30, 2006; and on his

“Petitioner’s Motion To Seek An Application For Certificate Of

Appealability Federal Rule Application [sic] Procedure 22(b)(1)”

(3:02CR242, document # 323), filed May 30, 2006.

     For the reasons stated herein, the petitioner’s Motion for

Reconsideration will be denied; his Motion for a Certificate of

Appealability will be denied; but his alternative Notice of Ap-

peal will be transmitted to the Fourth Circuit Court of Appeals.

     As was recounted in the Court’s Order of March 20, 2006 (by

which the petitioner’s unauthorized third collateral challenge to

his 2003 criminal case was summarily rejected), on July 10, 2003,

the petitioner pled guilty to one count of conspiracy to possess

with intent to distribute quantities of cocaine, methamphetamine



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and marijuana.   Next, on November 18, 2003, this Court sentenced

the petitioner to a term of 240 months imprisonment.            The Court’s

Judgment of Conviction was filed January 6, 2004.

     The petitioner did not directly appeal either his conviction

or sentence.   Therefore, those matters became final on or about

January 20, 2004–-that is, at the expiration of the brief period

during which the petitioner could have given his notice of appeal

in this case had he chosen to do so.        Rather than filing an

appeal, on November 10, 2004, on October 24, 2005, and on March

7, 2006, the petitioner brought collateral challenges his

criminal case.   However, each of those challenges was rejected–-

the first for a lack of merit, and the two others as unauthorized

successive motions.

     Now, the petitioner has filed this Motion for Reconsidera-

tion, first explaining what he perceives as the three categories

of appeals in collateral cases; and then asserting, inter alia,

that this Court erred in failing to consider the merits of his

most recent collateral challenge.      However, inasmuch as the

petitioner has failed to set forth a valid basis for this Court

to disturb its earlier decision on that matter, his Motion for

Reconsideration must be denied.

     In addition, the Court finds that the petitioner’s Motion

for a Certificate of Appealability also should be denied.              That

is, by that Motion, the petitioner has failed to show that this


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Court’s denial of his third motion to vacate constituted a denial

of his constitutional rights.     In particular, the petitioner has

failed to demonstrate that reasonable jurists would find that

this Court’s procedural ruling was debatable or wrong.            See Slack

v. McDaniel, 529 U.S. 473, 484 (2000).

     Indeed, to the extent that the petitioner is claiming that

his March 2006 filing was not a collateral attack, but an attempt

to obtain a certificate of appealability, such attempt would fail

because his request was made more than a year after the entry of

any order which he might have appealed.       On the other hand, to

the extent that the petitioner was attempting to bring a colla-

teral challenge by his March 2006 filing–-as this Court con-

cluded--such attempt properly was rejected as an unauthorized

successive collateral motion.     In sum, therefore, the petitioner

simply is not entitled to any relief, nor is he entitled to any

additional review of these matters.

     Finally, however, because the petitioner has indicated that,

in the event he is unsuccessful in obtaining reconsideration, he

would like his Motion for Reconsideration to be treated as a

notice of appeal, such request will be granted.

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the petitioner’s Motion for Reconsideration is

DENIED;

     2.   That the petitioner’s Motion for a Certificate of


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Appealability is DENIED; but

     3.   That the petitioner’s Notice of Appeal will be duly

noted for the record and transmitted to the Clerk of the Fourth

Circuit Court of Appeals.

     SO ORDERED.




                                   Signed: June 1, 2006




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